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                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MARYLAND


DEBORAH LAUFER,
                                                  Case No.: 4:20-cv-00194-CDL
             Plaintiff,
v.

KRISHNA LLC,
          Defendant.
____________________________________



      PLAINTIFF’S BILL OF COSTS AND LITIGATION EXPENSES

      Plaintiff hereby submits the following bill of costs and expenses incurred in

the instant action. Litigation expenses are awardable pursuant to 42 U.S.C. Section

12205.

Costs
Filing fees                               $400.00
Process server                            $140.00
Initial investigator                      $650.00
Anticipated follow-up investigation       $650.00
Litigation Expenses                       $3560.00
Total costs and expenses:                 $5410.00

                                             Respectfully submitted,

                                             _/s/ Tristan W. Gillespie__
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                                             Thomas B. Bacon, P.A.
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                                 Gillespie.tristan@gmail.com
